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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                            LAFAYETTE-OPELOUSAS DIVISION

 UNITED STATES OF AMERICA                      *       CRIM. NO. 04-60049-02

 VERSUS                                        *       JUDGE DOHERTY

 THOMAS PAUL BOURQUE                           *       MAGISTRATE JUDGE HILL

                                      DETENTION ORDER

        The defendant, Thomas Paul Bourque, appeared for a hearing to set conditions of release

 on June 11, 2007. After considering the evidence, the court orders that the defendant be detained

 pending the final revocation hearing. The defendant has previously admitted violations of his

 supervised release conditions.

                                           DETENTION

        Once the finding is made that probable cause exists to hold the defendant for a final

 revocation hearing (admitted here), the burden shifts to the defendant to establish that he will not

 flee or pose a danger to any person or the community. Rule 32.1 (a) (6) FRCrP. The defendant

 failed to carry this burden, as the evidence submitted at the hearing showed that the defendant

 was unable to follow the terms of his supervised release, and the third party custodian presented

 by the defendant was unable to keep the defendant from using drugs in the past. Therefore, I find

 that the defendant has failed to carry his burden under Rule 32.1 (a) (6).
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        IT IS ORDERED that the defendant, Keefe A. Anderson, be detained pending a final

 revocation hearing to be held by Judge Doherty


        Lafayette, Louisiana, June 11, 2007.
